        Case: 3:15-cv-00308-jdp Document #: 195 Filed: 10/16/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

TIMOTHY CONNELLY, DAVID WINCHELL,
RAYMOND SCHLICHT, and RODNEY SCHLICHT,

        Plaintiffs,                                      Case No. 15-cv-308-jdp

   v.

DAN LEPKE TRUCKING LLC and
LEPKE TRUCKING & EXCAVATING LLC,

        Defendants.


                             JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff Timothy Connelly and against defendants Dan Lepke Trucking LLC and

Lepke Trucking & Excavating LLC in the amount of $8,276.




        s/ K. Frederickson, Deputy Clerk                 October 16, 2019
        Peter Oppeneer, Clerk of Court                        Date
